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 2                                                                          MAY ?. ~ 2019
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 8                           UNITED STATES DISTRICT COURT
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                          SOUTHERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,                       Case No.          10&~
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11
                                                     COMPLAINT FOR VIOLATION OF
12                                Plaintiff,
                                                     Title 8, U.S.C., Section 1324(a)(l )(A)(ii)
13          v.                                       Transportation of Illegal Aliens (Felony)
14
     Eric Jesse LINARES (1),
15   Richard Lee MOYA (2),
16
                                Defendants.
17
18
           The undersigned complainant being duly sworn states:
19
20         On or about May 22, 2019, within the Southern District of California, defendants,
21
     Eric Jesse LINARES and Richard Lee MOYA, with the intent to violate the immigration
22
     laws of the United States, knowing and in reckless disregard of the fact that alien,
23
24                                     Luis Angel SALTO-Penaloza,
25
     had come to, entered or remained in the United States in violation of law, did transport or
26
     move, or attempt to transport or move, said aliens within the United States in furtherance
27
28 of such violation of law; in violation of Title 8, United States Code, Section 1324.
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          And the complainant states this complaint is based on the Statement of Facts, which is
 1
 2 incorporated herein by reference.
 3
 4


                                           WENCESLA~RTIDA
 5
 6
 7                                        BORDER PATROL AGENT

 8
          SWORN TO BEFORE ME AND SUBSCRIBED IN MY PRESENCE, THIS 23rct
 9
10 DAY OF MAY, 2019.
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                                                 2
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 l UNITED STATES OF AMERICA
             v.
 2 Eric Jesse LINARES ( 1),
 3 Richard Lee MOYA (2),

 4
                                   STATEMENT OF FACTS
 5
           This complaint is based upon statements in investigative reports by Border Patrol
 6
 7 Agent (BPA) R. B. Tidd, that on May 22, 2019, Eric Jesse LINARES (LINARES) and
 8
     Richard Lee MOYA (MOYA), both United States citizens, were arrested near
 9
10 Westmorland, California while smuggling an undocumented aliens in a vehicles trunk in
11 violation of Title 8, United States Code, Section 1324.
12
           On May 22, 2019, BPA R. B. Tidd was assigned to the Highway 86 Border Patrol
13
14 Checkpoint near Westmorland, California. At approximately 7:45 p.m., a black Hyundai
15 Sonata approached his location at primary inspection. BPA Tidd identified himself as a
16
     BPA to the driver, later identified as LINARES, and questioned him as to his citizenship.
17
18 LINARES stated he was a United States citizen. BPA Tidd asked LINARES if he had any
19 identification on his person to which LINARES stated he did not.
20
           BP A Tidd requested LINARES to roll down the rear window so he could speak with
21
22 the male sitting in the rear seat of the vehicle. While BPA Tidd questioned the other
23 passengers in the vehicle, BPA Castillo and his K-9 partner performed a non-intrusive
24
   K-9 sniff of the vehicle. During the sniff, BPA Castillo's K-9 gave a positive alert to the
25
26 vehicle. BPA Castillo informed BPA Tidd that his K-9 had given a positive alert to the

27 vehicle.
28
                                                 3
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             In secondary inspection, BPA Castillo advised LINARES that he needed to verify
 1
 2 the reason his K-9 alerted to the vehicle. BPA Castillo asked LINARES for consent to
 3
     search the vehicle. LINARES gave consent for a search of the vehicle. BPA Castillo
 4
     instructed LINARES and the two other occupants to sit in the secondary inspection waiting
 5
 6 area. While the vehicle was being searched, BPA Tidd asked all three of the subjects if
 7
     anyone was hiding in the trunk to which LINARES stated, "I don't think so."
 8
              BPA Castillo and his K-9 began a search of the vehicle. During the search, the K-9
 9
10 alerted to the left comer of the trunk lid. As BPA Castillo attempted to open the trunk in
11
     order to search the inside of it, LINARES yelled out, "The trunk does not work, it doesn't
12
13 open." BP A Castillo attempted to get into the trunk by lowering the rear seat, which was
14 unsuccessful. BP A Castillo located the trunk release button on the dash, pressed it, and
15
     heard the trunk release while watching it pop up.
16
17           When BPA Castillo looked inside the trunk, he observed one individual attempting

18 to conceal himself within, identified as, Luis Angel SALTO-Penaloza (SAL TO).
19
     BPA Castillo identified himself as a BPA and questioned SALTO in regards to his
20
21 citizenship. SALTO stated he was a Mexican citizen. BPA Castillo asked SAL TO if he
22 had immigration documents to be in the United States legally and SALTO stated he did
23
     not.
24
25           LINARES and MOYA were placed under arrest for alien smuggling and SALTO

26 was placed under arrest for being in the country illegally.
27
28
                                                   4
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 1
           LINARES was read his Miranda Rights. LINARES stated he understood his rights

 2 and was willing to answer questions without the presence of a lawyer. LINARES stated
 3
     that he received a call from his friend "Nate" around 7:30 a.m. on Wednesday,
 4
 5 May 22, 2019. LINARES stated that "Nate" asked him if he would pick up his friend's
 6 cousm.       LINARES stated that a male subject, known as "Plig," called him.
 7
     LINARES stated that "Plig" told him to drive to the Jack in the Box in El Cajon, California.
 8
 9 LINARES stated that his nephew, Richard Lee MOYA, came with him for the ride.
10         LINARES stated that they left San Bernardino, California around 9:25 a.m.
11
     LINARES stated that they arrived at the Jack in the Box and waited for a long period of
12
13 time. LINARES stated that "Plig" called him after waiting for so long. LINARES stated
14 that he told "Plig" that the individual he was going to pick up was not there, and that he
15
     was ready to leave.
16
17         LINARES stated that "Plig" told him to drive toward El Centro, two exits past the

18 Golden Acom Casino. LINARES stated that he was unable to locate the individual.
19
     LINARES stated he made several loops on the highway until he saw the male individual
20
21 walking along the highway. LINARES stated he stopped the vehicle, and had the subject

22 get into the vehicle.
23
           LINARES stated the subject, later identified as SALTO, got into the back seat.
24
25 LINARES stated they then began to travel east on Interstate 8, towards El Centro.

26 LINARES proceeded to tell a story about when they were in the vehicle line at the
27
     Highway 86 checkpoint. LINARES stated that since he didn't understand Spanish, SALTO
28
                                                  5
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 1 motioned to him that he needed something in the trunk. LINARES stated that SAL TO got
 2 out of the vehicle and walked towards the trunk. LINARES stated he opened the trunk for
 3
     SALTO. LINARES stated that he was distracted because he was lighting a marijuana joint
 4
 5 when he heard the trunk close. LINARES stated that he then did not see SAL TO anywhere.
 6 LINARES stated that he then continued toward the checkpoint.
 7
           Once at the checkpoint, LINARES stated that he gave BPAs consent to search his
 8
 9 vehicle and to his surprise, SALTO was in his trunk. After reminding LINARES that he
10 was under oath and that the story that he was giving was unlikely to be true, LINARES
11
     decided to modify his story.
12
13         LINARES then stated that after picking up SALTO, they stopped at a Shell gas

14 station in El Centro. LINARES stated that after pumping gas, they drove a short distance
15
     from the gas station and pulled over because LINARES stated that SALTO had been
16
17 talking on the phone with someone. LINARES claims he believed that the person told
18 SALTO to get into the trunk because when the vehicle stopped, SALTO got out of the
19
   vehicle and wanted to get into the trunk. LINARES stated that he was going to be paid
20
21 $300 to $400 United States Dollars (USD) to transport SALTO to a house in Fontana.

22         MOYA was read his Miranda Rights. MOYA stated he understood his rights and
23
   was willing to answer questions without the presence of a lawyer. MOYA stated that on
24
25 May 22; 2019, his uncle LINARES, asked him ifhe wanted to make a thousand dollars to

26 go pick up some people near the border. MOYA stated him and his uncle drove towards
27
     San Diego, California and eventually picked up SALTO on the side of the highway.
28
                                               6
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 1 MOYA stated that SALTO sat next to him in the rear seat. MOYA stated he drove to a
 2 Shell gas station to gas up, use the restroom, and buy some water. MOYA stated they left
 3
     the gas station and veered off to an unpopulated street at this time. MOYA stated that his
 4
 5 uncle LINARES told SALTO to get into the trunk of the car. MOYA stated that his uncle,
 6 LINARES, told him that they would take the alien to an unknown location in Fontana,
 7
     California.
 8
 9         Material Witness SAL TO stated he was going to pay $7,500 USD to be smuggled

10 into the United States.
11
           The complainant states the name of the Material Witnesses are as follows:
12
13      NAME                                               PLACE OF BIRTH

14
15      Luis Angel SALTO-Penaloza                          MEXICO

16
17         Further, complainant states that the Material Witness is a citizen of a country other

18 than the United States; that said alien has admitted that he is deportable; that his testimony
19
    is material; that it is impracticable to secure his attendance at trial by subpoena; and that
20
2 1 he is a material witness in relation to this criminal charge and should be held or admitted

22 to bail pursuant to Title 18, United States Code, Section 3144.
23
24
25
26
27
28
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